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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-cr-128 (RC)
                                               :
WILLIAM POPE,                                  :
                                               :
                       Defendant.              :

                UNITED STATES’ RESPONSE IN OPPOSITION TO
          DEFENDANT’S MOTION TO MODIFY CONDITIONS OF RELEASE

       The United States of America, by and through the undersigned Assistant U.S. Attorney,

respectfully asks this Court to deny William Pope’s (“defendant”) motion to modify his conditions

of release to allow him to travel to Washington, D.C. ECF No. 383. Specifically, the defendant

asks this Court to “to travel to the District of Columbia for the purpose of attending the Presidential

Inauguration on January 20, 2025.” Id. at 1. The defendant presents a danger to the D.C.

community, including the very law enforcement officers who defended the Capitol on January 6,

2021 and continue to serve the citizens of the District.

                                   FACTUAL BACKGROUND

       On January 6, 2021, thousands of rioters took part in an attack on the U.S. Capitol to stop

the certification of the results of the 2020 presidential election. These rioters forced their way into

the U.S. Capitol building, requiring elected officials and their staff to flee or shelter in place and

resulting in hundreds of injured officers and even multiple deaths.

       After the 2020 Presidential election, William Pope and his brother Michael Pope came to

Washington, D.C. to attend then-President Trump’s Stop the Steal Rally and to protest Congress’s

certification of the Electoral College vote count. The messages show that the Pope brothers

anticipated that the event may involve violence.
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        The Popes arrived at the Mall at approximately 7:00 a.m. on January 6. Both Pope brothers

carried a flagpole bearing an American flag. The Popes listened to former President Trump’s

speech from near the Washington Monument. The Popes then walked more than a mile from the

Washington Monument to the U.S. Capitol. During part of this walk, William Pope streamed a

Facebook Live video, showing his face and explaining that they were marching to the Capitol,

where Vice President Mike Pence was located. and said, “Mike Pence, I guess he is down there

right now, deciding whether they are certifying the election or not.” William Pope further added

that “[w]e got a lot of people who are not happy that the election is potentially being stolen. And,

ah, they are here to stand up for our country.”

        At about 1:53 p.m., William Pope stood at the vanguard of the crowd at the East Front of

the Capitol. When rioters pulled the barricades aside, he moved forward towards the Capitol

building. William Pope entered the Capitol through the Senate Carriage Doors, at 2:18 p.m. CCTV

captured their entrance into the building. Just prior to their entry, police were ushering rioters out

of the Senate Carriage Doors. At that time, the Senate Carriage Doors were open, and police were

attempting to use the door to funnel rioters out of the building. A crowd began to grow just outside

the doors, putting additional pressure on the officers as they tried to usher rioters out without letting

other rioters into the building. William Pope was near the front of this crowd. He used his body to

push his way into the building, maneuvering past a police officer who was attempting to block the

entryway. Michael Pope also entered the Capitol, immediately behind William Pope. A scuffle

broke out between police and rioters, just as William repositioned himself in the doorway. An

officer reached past William to deploy pepper spray at the crowd. Despite officers shouting to

leave and pushing against him, William Pope did not move and stood where he was with the

flagpole he was carrying wedged into the door jamb preventing officers from being able to close
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the door. Officers closed the adjoining door; however, officers were unable to close the door which

William Pope was standing in front of with his flagpole wedge in the door jamb.

        Eventually, the Pope brothers proceeded to walk with other rioters further into the

building. Open-source and CCTV footage captured the Pope brothers walk in many areas of the

Capitol building over the next twenty minutes. The Popes walked through the suite of offices

belonging to then-Speaker of the House Nancy Pelosi, the Crypt, and Statuary Hall. Eventually, at

about 2:37 p.m., Michael and William Pope exited the Capitol building. As the Popes left the

building, fire alarms can be heard on open-source videos. On January 7, William Pope texted

Michael Pope, “I think I’m going to wait this all out.”

        After his arrest on February 12, 2021, the Government agreed that William Pope may

remain on release pending trial, without a curfew, home detention, or monitoring – but not without

conditions. Here, the condition that William Pope be prohibited from traveling to Washington,

D.C. except for his court proceedings is among the minimum conditions necessary to ensure the

safety of the community William Pope’s involvement in the January 6, 2021 riot and the

circumstances surrounding his arrest justify this restriction. Accordingly, the Court should deny

William Pope’s motion.

                                            ARGUMENT

        I.      Applicable Authority

        Under the Bail Reform Act, if a judicial officer determines that release under two standard

conditions (not committing crimes and cooperating in the collection of DNA) “will not reasonably

assure the appearance of the person as required or will endanger the safety of any other person or

the community,” the judicial officer may impose additional conditions. 18 U.S.C. §§ 3142(b),

(c)(1). In that event, the judicial officer shall release the defendant “subject to the least restrictive
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further condition, or combination of conditions” that “reasonably assure the appearance of the

person as required and the safety of any other person and the community.” 18 U.S.C. §

3142(c)(1)(B). The Court is authorized to impose “any other condition that is reasonably necessary

to assure the appearance of the person as required and to assure the safety of any other person and

the community.” 18 U.S.C. § 3142(c)(1)(B)(xiv).

       In determining appropriate conditions of release, the judicial officer considers factors

including: (1) “the nature and circumstances of the offense charged”; (2) “the weight of the

evidence”; (3) “the history and characteristics” of the defendant and (4) “the nature and seriousness

of the danger to any person or the community that would be posed by the [defendant’s] release.”

18 U.S.C. § 3142(g) (“Section 3142(g) factors”). The judicial officer may amend a release order

“at any time.” 18 U.S.C. § 3142(c)(3).

       II.     The Court Should Not Modify the Defendant’s Release Conditions

       William Pope asks the Court to modify his conditions of release to allow him to travel to

Washington, D.C. on January 20, 2025. The United States opposes because William Pope is

already subject to the “least restrictive” combination of conditions necessary to ensure the safety

of the community. 18 U.S.C. § 3142(c)(1)(B). William Pope was not required to post bond, and is

not subject to home detention, a curfew, or GPS monitoring; instead, he must submit to supervision

by Pretrial Services, and cannot possess firearms. ECF No. 16. Together with these relatively

limited conditions, a travel restriction to prevent William Pope from returning to the scene of the

crime creates the least restrictive combination of conditions required to mitigate the danger that he

poses to the community and to law enforcement officers.

       The restriction on unauthorized travel to the District is well-reasoned, given the

Defendant’s alleged conduct on January 6, 2021 and the Court’s need to ensure public safety. The
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last organized event the defendant attended in Washington, D.C., spiraled into a full-scale riot.

This was the scene of his charged crime—a felony which contributed to the violent disruption of

the peaceful transition of power.

        The nature and circumstances of the offenses in William Pope’s case and the evidence in

support of the charged offenses are serious. There is video evidence of William Pope entering the

Capitol and refusing to leave despite officers ordering him to and pushing against him. William

Pope’s conduct and the extensive video and photographic evidence of his conduct weighs heavily

in denying his motion.

        Both times that the defendant previously came to Washington, D.C., it was related to his

preparation for his upcoming trial. This trip is not. Instead, it is a tourist visit. He claims, without

offering any corroboration, that he has been invited to attend the inauguration. A supposed

invitation from an unnamed person does not constitute good reason for his conditions of release to

be modified.

        The most compelling reason to deny William Pope’s motion is that allowing his travel to

Washington, D.C. places Capitol police officers in danger. William Pope argues that his lack of

violence in his last two visits to D.C. warrants a modification of his conditions of release. However,

many of the same officers from January 6, 2021 will be at the Capitol on January 20, 2025 and

they will be tasked with doing the same thing they were tasked with on January 6, 2021 – trying

to control a crowd to protect the nation’s capital. Allowing William Pope to return to Washington,

D.C., specifically the Capitol building, could put him face to face with the officers that he resisted

four years ago and place him in the same circumstance in which he already demonstrated a

disregard for the law. The least restrictive condition that protects Capitol police officers and

reflects the weight of the evidence and seriousness of the charges offenses is to prohibit William
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Pope’s travel to Washington, D.C.

                                        CONCLUSION

       For the reasons described above, the United States respectfully requests that this Court to

deny William Pope’s motion to modify condition of release.


                                             Respectfully submitted,

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